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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT CHARLESTON


THE KAY COMPANY, LLC,
DIANA KILE GREEN,
Individually and Attorney-In-Fact
for the Heirs of Luther E. Kile,
THE H. A. ROBSON TRUST, by
EDWIN N. VINSON,
Beneficiary & Trustee of the
H. A. Robson Trust,
DAVID H. DAUGHERTY,
Trustee of the H. A. Robinson Trust, and
MARY BLAIR V. CHAPUISAT,
Beneficiary of the H. A. Robson Trust,
H. DOTSON CATHER,
Trustee of Diana Goff Cather Trusts,
CLYDE EMERSON MCCLUNG,
Individually, and
JAMES E. HAMRIC, III,
Individually,

             Plaintiffs,

v.                                               Case No. 2:06-CV-0612
                                                 Honorable Joseph R. Goodwin

EQUITABLE PRODUCTION COMPANY,
a qualified Pennsylvania corporation;
EQUITABLE RESOURCES, INC.,
a Pennsylvania corporation;
STATOIL NORTH AMERICA, INC.,
a Delaware corporation;
STATOIL ENERGY, INC.,
a Virginia corporation;
STATOIL ENERGY HOLDINGS, INC.,
a Delaware corporation; and
AHLAND OIL, INC.,
a Kentucky corporation,

             Defendants.


      MOTION TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT AGAINST
                DEFENDANT EQUITABLE RESOURCES, INC.
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          Equitable Resources, Inc. (“Equitable Resources”), Defendant herein, by its counsel,

hereby responds to Plaintiffs’ Amended Complaint by filing the instant Motion to Dismiss

Plaintiffs’ Amended Complaint Against Defendant Equitable Resources, Inc., and the

accompanying Brief in Support of Motion to Dismiss Defendant Equitable Resources, Inc.,

Under Federal Rule of Civil Procedure 12(b)(6). Plaintiffs have failed to state a claim upon

which relief can be granted against Equitable Resources. Equitable Resource’s legal argument

and support for dismissal are set forth completely in its accompanying Brief in Support.

          WHEREFORE, for reasons explained above and set forth more fully in Equitable

Resources attached Brief in Support, Equitable Resources hereby moves the Court for an Order

dismissing Plaintiffs’ Amended Complaint in its entirety as against Equitable Resources;

awarding Equitable Resources the reasonable costs of this action, including reasonable attorneys’

fees; and granting Equitable Resources such other and further relief as the Court deems just and

proper.

                                                      Respectfully Submitted,
                                                      EQUITABLE RESOURCES, INC.
                                                      By Counsel

LEWIS, GLASSER, CASEY & ROLLINS, PLLC

 /s/ Richard L. Gottlieb
Richard L. Gottlieb (W. Va. Bar No. 1447)
/s/ Joseph A. Tarantelli
Joseph A. Tarantelli (W. Va. Bar No. 10115)
Post Office Box 1746
Charleston, WV 25326

/s/W. Thomas McGough, Jr.
Admitted Pro Hac Vice
/s/Natalie Chetlin Moritz
Admitted Pro Hac Vice
REED SMITH
435 6th Avenue
Pittsburgh, Pennsylvania 15219




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                               CERTIFICATE OF SERVICE

       I hereby certify that on Monday, April 30, 2007, I electronically filed the foregoing
“DEFENDANT EQUITABLE RESOURCES, INC.’S MOTION TO DISMISS
PLAINTIFFS’ AMENDED COMPLAINT” with the Clerk of the Court using the CM/ECF
system which will send notification of such filing to the following:

Marvin W. Masters, Esq.                          Alexander Macia, Esq.
The Masters Law Firm, LC                         William M. Herlihy, Esq.
Counsel for Plaintiffs                           Spilman Thomas & Battle, PLLC
                                                 Counsel for Statoil North America, Inc., Statoil
                                                 Energy, Inc.
                                                  And Statoil Energy Holdings, Inc.
Thomas W. Pettit, Esq.                           Marc E. Williams, Esq.
Thomas W. Pettit, L.C.                           J. David Bolen, Esq.
Counsel for Plaintiffs                           Huddleston Bolen, LLP
                                                 Counsel for Ashland, Inc.
Michael W. Carey, Esq.
Robert E. Douglas, Esq.
Carey, Scott & Douglas, PLLC
Counsel for Plaintiffs
Scott S. Segal, Esq.
Mark R. Staun, Esq.
The Segal Law Firm
Counsel for Plaintiffs
David J. Romano, Esq.
Romano Law Office
Counsel for Plaintiffs



        I further certify that on Monday, April 30, 2007, I also served the foregoing
“DEFENDANT EQUITABLE RESOURCES, INC.’S MOTION TO DISMISS
PLAINTIFFS’ AMENDED COMPLAINT” via U. S. Mail to counsel of record not currently
registered with the CM/ECF system at the following address:

George M. Scott, Esq.
Carey, Scott & Douglas, PLLC
PO Box 230
Spencer, WV 25276



                                            /s/ Joseph A. Tarantelli
                                                                                Joseph A.
                                            Tarantelli (W. Va. Bar No. 10115)




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